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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Norfolk Division


UNITED STATES OF AMERICA

V,                                                     Criminal No. 2:17-mj-562

ERIC BRIAN BROWN,

                        Defendant.

                                               ORDER


            This matter is before the Court on the parties' Joint Motion to Continue Hearing in

     this case. The hearing is currently scheduled for June 7,2018.

            Accordingly, for good cause shown, the Joint Motion to Continue Hearing in this
     matter is hereby GRANTED. The stay on any forcible-medication procedure previously
     ordered by the Court shall remain in place until after the Court holds the hearing.The parties
     are directed to contact the Court's courtroom deputy clerk to schedule a n^hearing date.
            It is so ORDERED.

                                                        Raymond A.Jackson
                                                        United States District J»rfpA
                                                UNITED STATES DISTRICTTUDGE
Date:
Norfolk,l!/ir^nia
